Case 8:16-ap-01114-ES Doc 1-1
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Desc

Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &
Email Address

Robert H. Marcereau (SBN 211534)

MARCEREAU & NAZIF

26000 Towne Centre Drive, Suite 230

Foothill Ranch, California 92610

Tel: (949) 531-6500

Fax: (949) 531-6501

E-mail: rmarcereau@mncalaw.com

FOR COURT USE ONLY

RECEIVED
APR 2 6 2016

CLERK U.S. BANKRUPTCY COURT
CENTRAL vio sass T OF CALIFORNIA
Re eke irik

Kent Wycliffe Easter, dba Kent Easter Consulting,
dba Law Offices of Kent W. Easter

Attorney for Plaintiff
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
In re: CASE NO.: 8:16-bk-10223-ES

CHAPTER: 7

Debtor(s).

ADVERSARY NUMBER:

Kelli Peters

Plaintiff(s)
Versus
Kent Wycliffe Easter, dba Kent Easter Consulting,

dba Law Offices of Kent W. Easter

Defendant(s)

SUMMONS AND NOTICE OF
STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004-1]

TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a

written response is

. If you do not timely file and serve the response, the court may enter a judgment by

default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

Place:

f

Hearing Date:
Time:
Courtroom:

255 East Temple Street, Los Angeles, CA 90012
3420 Twelfth Street, Riverside, CA 92501

5€ 411 West Fourth Street, Santa Ana, CA 92701

* 1415 State Street, Santa Barbara, CA 93101

~~ 21041 Burbank Boulevard, Woodland Hills, CA 91367

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2012

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court's website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-1.STATUS.
REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with the court a
unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court
may also fine you or impose other sanctions if you fail to appear at a status conference.

KATHLEEN J. CAMPBELL
CLERK OF COURT

Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:

By:

Deputy Clerk

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Ste 230, Foothill Ranch, CA 92610

A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN
ADVERSARY PROCEEDING [LBR 7004-1] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
04/26/2016 , | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

ecf.alert+Kosmala@titlexi.com; notices@becket-lee.com; claims@recoverycorp.com; ustpregion16.sa.ecf@usdoj.gov

CJ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __ 04/26/2016 , | served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Debtor: Kent Wycliffe Easter, 153 Baywood Dr., Newport Beach, CA 92660

Trustee: Weneta M Kosmala, 3 MacArthur Place, Suite 760, Santa Ana, CA 92707

Judge: Honorable Erithe A. Smith, United States Bankruptcy Court, Central District of California, Ronald Reagan

Federal Building and Courthouse, 411 West Fourth Street, Suite 5040 / Courtroom 5A, Santa Ana, CA 92701-4593

C] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method

for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , | served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

CT] Service information continued on attached page

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

04/26/2016 _ Nicole Lipowski /s/ Nicole Lipowski
Date Printed Name Signature

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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B1040 (FORM 1040) (12/15)

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ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER
(Instructions on Reverse) (Court Use Only)
PLAINTIFFS DEFENDANTS

Kelli Peters, Bill Peters and Sydnie Peters

Kent Wycliffe Easter, dba Kent Easter Consulting,
dba Law Offices of Kent W. Easter

ATTORNEYS (Firm Name, Address, and Telephone No.)
MARCEREAU & NAZIF, 26000 Towne Centre Drive,

Suite 230, Foothill Ranch, California 92610
Tel: (949) 531-6500

ATTORNEYS (If Known)
Debtor, Pro Se

153 Baywood Dr., Newport, Beach, CA 92660
949-981-9447

PARTY (Check One Box Only)

0 Debtor a U.S. Trustee/Bankruptey Admin
© Creditor O Other
a Trustee

PARTY (Check One Box Only)

Debtor O U.S. Trustee/Bankruptcy Admin
0 Creditor O Other
O Trustee

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACT ION, INCLUDING ALL U.S. STATUTES INVOLVED)
NONDISCHARGEABILITY OF DEBT (11 U.S.C. § 523(a)(6)

NATURE OF SUIT
(Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

FRBP 7001(1) — Recovery of Money/Property

11-Recovery of money/property - §542 turnover of property
Oo 12-Recovery of money/property - §547 preference

13-Recovery of money/property - §548 fraudulent transfer
O 14-Recovery of money/property - other

FRBP 7001(2) — Validity, Priority or Extent of Lien
O 21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) — Objection/Revocation of Discharge
41-Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7001(5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
UC 66-Dischargeability - §523(a\1),(14),(14A) priority tax claims
C] 62-Dischargeability - §523(a)2), false pretenses, false representation,
actual fraud
O 67-Dischargeability - §523(a\4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) - Dischargeability (continued)

O 61-Dischargeability - §523(a)(5), domestic support

ix] 68-Dischargeability - §523(a)(6), willful and malicious injury

CL) 63-Dischargeability - §523(a)(8), student loan

O 64-Dischargeability - §523(a)(15), divorce or separation obligation
(other than domestic support)

O 65-Dischargeability - other

FRBP 7001(7) — Injunctive Relief
71-Injunctive relief — imposition of stay
CJ 72-Injunctive relief — other

FRBP 7001(8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other

CL] ss-siPa Case - 15 U.S.C. §§78aaa et.seq.

O 02-Other (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

O Check if this case involves a substantive issue of state law

O Check if this is asserted to be a class action under FRCP 23

m Check if a jury trial is demanded in complaint

Demand $ 3,265,000.00

Other Relief Sought
Interest, Costs, Attorney Fees

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B1040 (FORM 1040) (12/15)

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR BANKRUPTCY CASE NO.
Kent Wycliffe Easter 8:16-bk-10223-ES
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
Cedntral Santa Ana Erithe A. Smith
RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE
SIGNATURE OF ATTORNEY (OR PLAINTIFF)
DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)
April 22, 2016 Robert H. Marcereau
INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. Ifthe

plaintiff is represented by a law firm, a member of the firm must sign. Ifthe plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

